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10
                                    UNITED STATES DISTRICT COURT
11
                              FOR THE DISTRICT OF NORTHERN CALIFORNIA
12                                      SAN JOSE DIVISION
13
                                                     Case No. 5:16-cv-05820-EJD-SVK
14
     IN RE HP PRINTER FIRMWARE UPDATE
15   LITIGATION                                      PLAINTIFFS’ NOTICE OF MOTION AND
                                                     MOTION FOR CLASS CERTIFICATION,
16                                                   AND MEMORANDUM OF LAW IN
                                                     SUPPORT THEREOF
17
18                                                   ORAL ARGUMENT REQUESTED

19                                                   Date: May 31, 2018
                                                     Time: 9:00 a.m.
20                                                   Place: Courtroom 4
21                                                   Judge: Hon. Edward J. Davila

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24                                         REDACTED
25                                       Filed Under Seal
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26     cert. denied, 138 S. Ct. 314 (2017). ..................................................................................................24
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                                                                                v
                    PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION, CASE NO. 5:16-CV-05820-EJD-SVK
 1                                  NOTICE OF MOTION AND MOTION
 2           PLEASE TAKE NOTICE that on May 31, 2018, at 9:00 a.m., before the Honorable Edward
 3   J. Davila, Plaintiffs Richard San Miguel, DeLores Lawty, Richard Faust, Christopher Ware, and
 4   James Andrews will and do hereby move the Court, pursuant to Federal Rules of Civil Procedure
 5   23(a), (b)(2), (b)(3), and (c)(4), for an order certifying two Classes:
 6       x   The “Injunctive Relief Class”: All persons in California who own a Class Printer. The Class
 7           Printers consist of:
 8           o HP OfficeJet printer series 4500, 6220, 6230, 6810, 6820, 8600
             o HP OfficeJet Pro printers 8610, 8616, 8620, 8625, 8630, 8640, 8660, 251dw, 276dw
 9           o HP Officejet 6600 e-All-in-One Printer ௅ H711a/H711g (CZ155A) and (CZ162A)
             o HP OfficeJet e-All-in-One printers 6812, 6815, 6830, 6835, 8600, 8610, 8615, 8620
10           o HP OfficeJet Pro e-All-in-One ௅ N911a
             o HP OfficeJet Pro 8600 Plus e-All-in-One ௅ N911g
11           o HP Officejet Premium e-All-in-One Printer 6700 H711n (CN583A) and 8600
12           o HP Officejet 6100 ePrinter ௅ H611a (CB863A)
             o HP Officejet 7110 Wide Format ePrinter ௅ H812a (CR768A)
13           o HP OfficeJet 7510 Wide Format All-in-One Printer (G3J47A)
             o HP Officejet Wide Format e-All-in-One 7610 (CR769A) and 7612 (G1X85A)
14           o HP OfficeJet Pro 6230 e
             o HP OfficeJet Pro 8100 e ௅ N811a/N811d
15           o HP OfficeJet Pro X series including X451dn Printer (CN459A), X451dw (CN463A),
               X456dn, X456dw
16           o HP Officejet Pro Multifunction Printers X476dn (CN460A), X476dw (CN461A),
               X576dw (CN598A), X551dw (CV037A)
17
         x   The “Disablement Class”: All persons in the United States who purchased a Class Printer and
18
             experienced a print failure while using a non-HP aftermarket cartridge during the period
19
             between March 1, 2015 and December 31, 2017.1
20
             Plaintiffs also will move the Court to appoint them as class representatives and to appoint the
21
     law firms of Girard Gibbs LLP, Law Offices of Todd M. Friedman, P.C., and Joseph Saveri Law
22
     Firm, Inc. as class counsel. This motion is based upon this Notice of Motion and Motion, the
23
     incorporated Memorandum of Law, the evidence submitted in support of the motion, and any
24
     argument that may be presented to the Court.
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     1
27    The parties have stipulated to the filing of a consolidated amended complaint that sets out the class
     definitions proposed herein. Dkt. No. 88. In addition, Plaintiff Robert Doty has voluntarily dismissed
28   his claims, with prejudice, by stipulation under Rule 41(a)(1)(A)(ii). Dkt. No. 89.


                                                          1
                 PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION, CASE NO. 5:16-CV-05820-EJD-SVK
 1                                              INTRODUCTION
 2             Beginning in 2015, HP implemented secret “dynamic security” technology to disable
 3   aftermarket print cartridges installed in HP inkjet printers. Confusion ensued, as consumers
 4   complained to HP and on social media. The press reported.                                 HP apologized.
 5   Many consumers, like Plaintiffs Richard Faust and James Andrews, had been printing for months
 6   using competing aftermarket products, which typically cost three to six times less than HP’s own
 7   branded cartridges. Internal documents show that
 8
 9
10             HP did not notify its customers of its plan to modify their printers with dynamic security—a
11   technology that                                                 —to prevent the printers from continuing
12   to work with third-party cartridges. Printers that failed falsely informed the consumers that the
13   forcibly disabled cartridges were “damaged or missing.” Only after the September 2016 incident that
14   gave rise to this litigation did HP offer a “patch” that it said would undo its disablement of printers.
15   But even then, people had to find out about the patch on their own, and many people, including Faust,
16   were not able to use the patch to fix their printers even with the assistance of HP’s customer service
17   agents.
18             HP contends that it can continue to disable people’s printers as it alone sees fit. HP asserts
19   this right
20   Plaintiffs say HP has no right to interfere with consumers’ printers. On behalf of the California
21   printer owners, Plaintiffs seek certification of an injunctive relief class for the purpose of determining
22   whether HP’s conduct violates the unfair prong of the Unfair Competition Law. For damage claims,
23   Plaintiffs propose a class trial in the first instance on liability issues, with individualized damages
24   proceedings to follow. If HP is found liable under (1) the federal statute prohibiting computer fraud
25   and abuse, or (2) the common law of trespass to chattels, people across the country with economic
26   losses can efficiently claim recovery in subsequent proceedings, which a claims administrator or
27   special master can supervise. See Briseno v. ConAgra Foods, Inc., 844 F.3d 1121, 1131-32 (9th Cir.
28   2017), cert. denied, 138 S. Ct. 313 (2017).


                                                           2
                  PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION, CASE NO. 5:16-CV-05820-EJD-SVK
 1                             STATEMENT OF ISSUES TO BE DECIDED
 2          1.      Whether the Court should certify the Injunctive Relief Class under Rule 23(b)(2).
 3          2.      Whether the Court should certify the Disablement Class under Rules 23(b)(3) and (c)(4)
 4   with respect to the liability elements of two claims.
 5                                       STATEMENT OF FACTS
 6          In mid-September 2016, several thousand HP inkjet printers in homes and small offices
 7   rejected non-HP cartridges and stopped working. Compl., Dkt. No. 60, ¶ 1. These unexpected failures
 8   resulted from “dynamic security” technology that HP embedded                                       to
 9   shut down certain non-HP cartridges. Declaration of Elizabeth A. Kramer in Support of Plaintiffs’
10   Motion for Class Certification (“Kramer Decl.”), Ex. D (HP’s Responses to Pls.’ First Set of Interrogs.
11   at 5:13-14). Evidence developed in discovery
12                                                                        . Id.; Kramer Decl., Ex. 2 (HP-
13   0000006671); Ex. A (Barkley Dep. at 192:21-24). HP admits that,
14
15                   Kramer Decl., Ex. A (Barkley Dep. at 222:19-22).
16                                                                                Kramer Decl., Ex. B (Novak
17   Dep. at 77:16); see also Ex. C (HP’s Responses to Pls.’ Third Set of Interrogs. at 6:14-15).
18                                                                               Kramer Decl., Ex. B (Novak
19   Dep. at 112:12-13); accord Ex. A (Barkley Dep. at 18:3-4) (
20                                                              ).
21
22                                                 Kramer Decl., Ex. B (Novak Dep. at 104:12-14). Hence
23   HP’s dynamic security
24                                                    Id. at 89:11, 130:10-12.
25          HP’s intrusions caused thousands of consumers to lose time and money. Kramer Decl., Ex. A
26   (Barkley Dep. at 167:19-20); Ex. 3 (LAWTY00019-20); Ex. 4 (SANMIGUEL 00011). HP maintains
27   that, based upon
28                                 . Kramer Decl., Ex. A (Barkley Dep. at 192-93, 232:10-12).

                                                         3
                 PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION, CASE NO. 5:16-CV-05820-EJD-SVK
 1         A.      HP Designed Dynamic Security to Restrict Consumer Choice and Increase Its
                   Profits from Sales of Ink Cartridges.
 2
 3
 4                                               . Kramer Decl., Ex. 2 (HP-0000006672).
 5
 6   Kramer Decl., Ex. A (Barkley Dep. at 222:4-8). From HP’s standpoint,
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 8
 9   Kramer Decl., Ex. 5 (HP-0000011450-51). To this end,
10
11                  Kramer Decl., Ex. A (Barkley Dep. at 222:17-22); see also id. at 191:7-13; Ex. 6 (HP-
12   0000009349)                                                                                     ).
13
14                                    Kramer Decl., Ex. 1 (HP-0000011429).
15                                                                                      . Kramer Decl.,
16   Ex. 7 (HP-0000007180).
17                                                                                                   .
18   Kramer Decl., Ex. 2 (HP-0000006665-77).
19
20
21                                                                                    . Kramer Decl.,
22   Ex. 2 (HP-0000006672). HP could have responded by lowering the prices of its products, or
23   attempted through marketing and advertising to convince consumers to pay more for the name brand.
24   Instead,
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                PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION, CASE NO. 5:16-CV-05820-EJD-SVK
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     Id. at 6673.
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                                                                           Id. at 6675.
19
           B.       Dynamic Security Applied Uniform Technology to All Class Printers Identically.
20
21           Dynamic security
22                                   Kramer Decl., Ex. B (Novak Dep. at 28:12-14). Dynamic security
23
24              Id. at 32:17-19.
25                                                               Id. at 33:18-20.
26
27   Kramer Decl., Ex. A (Barkley Dep. at 160:24-161:6); Ex. B (Novak Dep. at 65:19).
28                                                                                        Id. at 93:7-19.


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                PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION, CASE NO. 5:16-CV-05820-EJD-SVK
 1                                                                   . Kramer Decl., Ex. A (Barkley Dep.
 2   at 232:10-12).
 3
 4                                     Id. at 222:19-22; Kramer Decl., Ex. 8 (HP-0000001863, 1867-69)
 5   Ex. 14 (HP-0000006695).
 6                                                                         Kramer Decl., Ex. 13 (HP-
 7   0000006693). Reasonable consumers were thereby misled in their purchasing decisions.
 8
 9                           . Kramer Decl., Ex. B (Novak Dep. at 149:17, 24:9-23).
10
11   Id. at 24:9-23.
12                                                 . Kramer Decl., Ex. B (Novak Dep. at 81:15-20;
13   103:13-21).
14                                            . Id. at 83:21-85:5.
15          HP’s error message—which incorrectly informed consumers that a cartridge was “damaged or
16   missing”—                                                                                . Id. at
17   149:17; Kramer Decl., Ex. D (HP’s Responses to Pls.’ First Set of Interrogs. at 5:14).
18
19                                   Kramer Decl., Ex. B (Novak Dep. at 114:18-24, 149:20-150:7).
20
21
22                                                                   Kramer Decl., Ex. 25 (HP-
23   0000008967); Ex. 9 (HP-0000008974-75).
24         C.      HP Implemented Dynamic Security in the Class Printers, Resulting in Unexpected
                   Product Failures.
25
26                                                                                               . Kramer

27   Decl., Ex. B (Novak Dep. at 37:9-24).

28
     Kramer Decl., Ex. 9 (HP-0000008974); Ex. A (Barkley Dep. at 100:3-18).
                                                       6
                PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION, CASE NO. 5:16-CV-05820-EJD-SVK
 1                                                                                  . Kramer Decl., Ex.
 2   9 (HP-0000008974); Ex. A (Barkley Dep. at 100:19-101:24).
 3
 4
 5                                                                  Kramer Decl., Ex. A (Barkley Dep.
 6   at 147:14-17).
 7
 8                                                 Kramer Decl., Ex. B (Novak Dep. at 104:12-14).
 9
10                           . Kramer Decl., Ex. A (Barkley Dep. at 167:12-14).
11
12                                  . Id. at 167:24.
13                                                                             . Kramer Decl., Ex. 10
14   (HP-0000002018) (                                                                      ); Ex. A
15   (Barkley Dep. at 162:11-13); Ex. 11 (HP-0000005358).
16
17
18                 Kramer Decl., Ex. 12 (HP-0000003782).
19           The September 2016 authentication challenge drew more attention. Numerous media outlets
20   reported that HP customers were confused and frustrated because they could not print due to an
21   unannounced firmware update. See Kramer Decl., Ex. 13 (HP-0000006693); Ex. 14 (HP-
22   0000006695).
23                                                          Kramer Decl., Ex. A (Barkley Dep. at
24   167:19-20).
25                                       . Kramer Decl., Ex. E (
26      ).
27                                . Kramer Decl., Ex. 16 (HP-0000003807).
28


                                                       7
               PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION, CASE NO. 5:16-CV-05820-EJD-SVK
 1                                              Kramer Decl., Ex. 15 (HP-0000006513).
 2
 3
 4   Kramer Decl., Ex. 17 (HP-0000003796); see also Ex. F (San Miguel Dep., Rough Tr. at 62:8-10)
 5   (noting that “the Internet was on fire, I should say, with this issue. And so I did follow a few
 6   suggestions but to no avail. Nothing worked.”).
 7          Plaintiffs were among the thousands of HP customers harmed in September 2016. Plaintiff
 8   DeLores Lawty spent “several hours on the phone with HP representatives attempting to resolve the
 9   issues with her printer” and ultimately “purchased a replacement printer from HP” when nothing else
10   worked. Kramer Decl., Ex. G (Lawty’s Responses to HP’s First Set of Interrogs. at 8:24-25, 3:11-12,
11   9:27-28). When Andrews’s printer failed, he had “to go to FedEx and print out stuff at 13 cents for a
12   black and white copy as opposed to printing it right there” in his home, causing him “a lot of
13   hardship.” Kramer Decl., Ex. H (Andrews Dep. at 86:1-3, 86:11). Faust bought replacement third-
14   party cartridges, and when they did not work either, he spent “hours and hours and hours” trying to
15   get his printer to work again and ultimately had to buy a new printer. Kramer Decl., Ex. 18; Ex. I
16   (Faust Dep. at 71-72). Explaining his frustration, Faust testified that “HP broke my printer. I didn’t
17   ask for them to do that. . . . I was happy with that printer just the way it was.” Id. at 71:22-72:2.
18         D.      Consumers Were Deceived by HP’s Course of Conduct.
19          Like many consumers, Plaintiffs bought HP printers on the understanding that they would be
20   able to use more affordable third-party ink cartridges.
21
22
23                                    Kramer Decl., Ex. A (Barkley Dep. at 207:16-22). Andrews “used
24   third-party ink cartridges at a much discounted price than . . . HP cartridges.” Kramer Decl., Ex. H
25   (Andrews Dep. at 84:18-20). Faust “always used third-party ink when the original runs out” and
26   “would not have purchased a printer that didn’t have the capability of buying third-party
27   ink.” Kramer Decl., Ex. I (Faust Dep. at 70:12-15). Plaintiff Richard San Miguel testified that,
28   “[j]ust like I had in the past, I purchased third-party cartridges and never had issues” with them


                                                          8
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 1   “other than the ones that failed” unexpectedly when “they should have had enough ink.” Kramer
 2   Decl., Ex. F (San Miguel Dep., Rough Tr. at 39:4-6, 43:15-16, 91-92, 112-13).
 3
 4
 5               . Kramer Decl., Ex. B (Novak Dep. at 60:18-20).
 6
 7                                  Id. at 27:21-25. There were
 8                                            Id. at 18:22-23.
 9                                                                      Kramer Decl., Ex. A (Barkley
10   Dep. at 101:7-16). Users
11                              Kramer Decl., Ex. B (Novak Dep. at 28:1-9); see also Ex. 16 (HP-
12   0000003807) (                                                                     ).
13
14                                                               Kramer Decl., Ex. 11 (HP-0000005358).
15
16                                                    Id.
17
18   Kramer Decl., Ex. 8 (HP-0000001863).
19
20
21   Kramer Decl., Ex. 19 (HP-0000005273).
22
23                                                . Id.; Kramer Decl., Ex. 8 (HP-0000001863); see also
24   Ex. B (Novak Dep. at 72:14-15)                                                    ).
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27
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              PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION, CASE NO. 5:16-CV-05820-EJD-SVK
 1
 2                                                   . Kramer Decl., Ex. B (Novak Dep. at 116:13-22,
 3   119:7-9, 121:20-22, 137:21-23).
 4                             Id. at 114:1-4.
 5                                                 Id. at 112:4-23. HP’s message confused customers
 6   trying to resolve their printing problems. Faust’s experience was typical: “because the error message
 7   said that the ink cartridge was missing, or whatever . . . and indicated it was the yellow that was
 8   faulty[,] I purchased a new yellow ink cartridge . . . [t]hat did not correct the problem.” Kramer
 9   Decl., Ex. I (Faust Dep. at 42:1-7).
10         E.       HP Sought to Capitalize on the Print Failures by Steering Affected Consumers to
                    Purchase Its Products and Services.
11
12
13                    Kramer Decl., Ex. 20 (HP-0000010402); see, e.g., Ex. 12 (HP-0000003781)
14
15
16
17                                                . Kramer Decl., Ex. 9 (HP-0000008978).
18
19                                                                    Kramer Decl., Ex. 20 (HP-
20   0000010402).
21                                                                                                    Kramer
22   Decl., Ex. 21 (HP-0000006525).
23
24                  Id. at 6523.
25
26                                                           Kramer Decl., Ex. 20 (HP-0000010402).
27
28                                                                                       Id.


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 1
 2                                      Kramer Decl., Ex. A (Barkley Dep. at 115:3-10, 103-105).
 3
 4                                                                                      Id. at 121:9-122:8,
 5   118-23.
 6                                                           Id. at 192:21-193:16. In other words,
 7
 8              Id. at 232:10-12; accord Kramer Decl., Ex. 9 (HP-0000008974)
 9                                                                  ).
10                                          LEGAL STANDARD
11          To obtain certification, “Plaintiffs must meet all of the requirements of Rule 23(a) and must
12   satisfy at least one of the prongs of Rule 23(b)” by the preponderance of the evidence. Kumar v.
13   Salov N. Am. Corp., 2016 WL 3844334, at *2 (N.D. Cal. July 15, 2016); Lilly v. Jamba Juice Co.,
14   308 F.R.D. 231, 236 (N.D. Cal. 2014). “Merits questions may be considered to the extent—but only
15   to the extent—that they are relevant to determining whether the Rule 23 prerequisites for class
16   certification are satisfied.” Amgen Inc. v. Conn. Ret. Plans & Tr. Funds, 568 U.S. 455, 466 (2013).
17                                              ARGUMENT
18          Plaintiffs move for certification of (1) an injunctive relief class of California owners of Class
19   Printers, based on HP’s alleged violations of the UCL’s unfair prong, and (2) a nationwide class of
20   purchasers of Class Printers who experienced print failures with non-HP cartridges, based on HP’s
21   alleged violations of the Computer Fraud and Abuse Act, 18 U.S.C. § 1030, et seq. (CFAA), and the
22   common law of trespass to chattels, with damages questions reserved for later proceedings.
23   I. PLAINTIFFS SATISFY THE PREREQUISITES OF RULE 23(A).
24         A.      The Class Members Are Sufficiently Numerous to Make Joinder Impracticable.
25          Plaintiffs satisfy the first requirement of Rule 23(a) because the Class is “so numerous that
26   joinder of all members is impracticable.” Fed. R. Civ. P. 23(a)(1). HP installed dynamic security on
27   about 3.5 million printers, and complaints of print failures in September 2016 “were in the ten
28


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                PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION, CASE NO. 5:16-CV-05820-EJD-SVK
 1   thousand number of interactions[.]” Kramer Decl., Ex. D (HP’s Responses to Plaintiffs’ First Set of
 2   Interrogs. at 5:14); Ex. A (Barkley Dep. at 167:19-20).
 3         B.      The Claims Involve Common Issues of Fact and Law.
 4          The commonality requirement of Rule 23(a)(2) is met where a class proceeding will “generate
 5   common answers apt to drive the resolution of the litigation.” Brickman v. Fitbit, Inc., 2017 WL
 6   5569827, at *4 (N.D. Cal. Nov. 20, 2017) (citing Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350
 7   (2011)). Commonality is “construed permissively,” Hanlon v. Chrysler Corp., 150 F.3d 1011, 1019
 8   (9th Cir. 1998), and can be satisfied “[s]o long as there is ‘even a single common question’ . . . .”
 9   Walsh v. CorePower Yoga LLC, 2017 WL 589199, at *7 (N.D. Cal. Feb. 14, 2017) (citation omitted).
10   “[V]ariation among class members in their motivation for purchasing the product, the factual
11   circumstances behind their purchase, or the price that they paid does not defeat the relatively
12   ‘minimal’ showing required to establish commonality.” Ehret v. Uber Techs., Inc., 148 F. Supp. 3d
13   884, 891 (N.D. Cal. 2015) (citation omitted); see, e.g., Walters v. Reno, 145 F.3d 1032, 1045 (9th Cir.
14   1998) (affirming injunctive certification, rejecting contention “that the commonality requirement is
15   lacking because the actual experiences of the class members are not sufficiently similar.”).
16          Common evidence in this case shows that,
17                                                                                                     Kramer
18   Decl., Ex. 7 (HP-0000007180); Ex. 1 (HP-0000011429). The technology HP implemented
19                                                         Kramer Decl., Ex. B (Novak Dep. 24:9-23;
20   149:13-17). A key question for the entire Class is whether HP’s use of dynamic security to increase
21   its share of the aftermarket constitutes unfair competition. Other common questions include whether
22   HP, by installing dynamic security on printers without warning, exceeded its authorized access to the
23   printers and meddled with class members’ property. Kramer Decl., Ex. 9 (HP-0000008974)
24                                                                                         ; Ex. A (Barkley
25   Dep. at 101:15-16)
26
27                               . HP failed to tell any of its customers when they purchased their printers
28   that it could or would disable third-party cartridges, despite this being a material term of purchase to

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 1   reasonable consumers, or before invading their devices with undisclosed, facially injurious updates.
 2   See Gutierrez v. Carmax Auto Superstores Calif., 2018 WL 627453, at *8-20 (Cal. Ct. App. Jan. 30,
 3   2018) (failure to disclose a material fact violates California consumer protection law). HP’s
 4   intellectual property defense also raises common issues. See Tr. of 7/14/17 Hr’g at 3:25 (HP’s
 5   counsel asserting that HP is entitled to disable “cartridges that may infringe”). Thus, commonality is
 6   satisfied because the answers to these central questions will be the same for all class members.
 7         C.      Plaintiffs’ Claims Are Typical of the Class.
 8          “Like the commonality requirement, the typicality requirement [of Rule 23(a)(3)] is
 9   permissive and requires only that the representative’s claims are reasonably co-extensive with those
10   of absent class members.” Rodriguez v. Hayes, 591 F.3d 1105, 1124 (9th Cir. 2010) (citation
11   omitted). The requirement is met where the plaintiffs’ claims “arise[] from the same event, practice
12   or course of conduct that gives rise to the claims of the absent class members and if their claims are
13   based on the same legal or remedial theory.” In re Online DVD Rental Antitrust Litig., 2010 WL
14   5396064, at *4 (N.D. Cal. Dec. 23, 2010) (citation omitted), aff’d, 779 F.3d 934 (9th Cir. 2015).
15          Plaintiffs’ claims arise from the same course of conduct—HP’s use of dynamic security—as
16   all class members’ claims, and Plaintiffs base the claims on common legal doctrines. Plaintiffs’
17   claims are typical of class members’ claims, involving the same evidence and tortious harm. The
18   evidence demonstrates HP prevented Injunctive Relief Class members’ printers from operating with
19   affordable competing cartridges, restricting end-usage of already purchased (and working) products.
20   All owners of HP inkjet printer owners are at risk of HP redeploying dynamic security technology
21   with the same effect. HP never told Disablement Class members of its plans in any conspicuous way
22   before carrying them out. These consumers are entitled to claim damages, having bought HP printers
23   that stopped working with non-HP cartridges as a result of HP’s unannounced remote interference.
24         D.      Plaintiffs and Their Counsel Will Adequately Represent the Class.
25
            As Rule 23(a)(4) requires, Plaintiffs and their counsel will “fairly and adequately protect the
26
     interests of the class.” Courts ask two questions to evaluate adequacy of representation: “(1) Do the
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     representative plaintiffs and their counsel have any conflicts of interest with other class members, and
28
     (2) will the representative plaintiffs and their counsel prosecute the action vigorously on behalf of the

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 1   class?” Staton v. Boeing Co., 327 F.3d 938, 957 (9th Cir. 2003). “To establish adequacy, class
 2   representatives generally need only to be familiar with the basis for the suit and their responsibilities as
 3   lead plaintiffs such that they can uphold their obligations to other class members.” In re Intuitive
 4   Surgical Sec. Litig., 2016 WL 7425926, at *7 (N.D. Cal. Dec. 22, 2016) (quotation marks and citation
 5   omitted), reconsideration denied, 2017 WL 4355072 (N.D. Cal. Sept. 29, 2017) (Davila, J.).
 6          First, Plaintiffs have demonstrated that they are adequate class representatives, and that they
 7   will continue to vigorously prosecute these claims. Plaintiffs have already made notable contributions
 8   to the litigation, regularly communicating with counsel, reviewing the consolidated complaint and
 9   their responses to written discovery, and appearing for depositions. Plaintiffs will undergo an
10   inspection of their printers, computer hard drives, and ink cartridges by HP. Kramer Decl., ¶ 6.
11          Second, proposed class counsel have demonstrated that they are adequate. See Fed. R. Civ. P.
12   23(g)(1)(A). The attorneys working on this case at Girard Gibbs LLP, Law Offices of Todd M.
13   Friedman, P.C., and Joseph Saveri Law Firm, Inc. are skilled and experienced in prosecuting
14   consumer class actions. See Kramer Decl., ¶¶ 7-9; Declaration of Todd M. Friedman, ¶¶ 15-22;
15   Declaration of Joseph R. Saveri, ¶¶ 6-7 & Ex. A thereto. Proposed class counsel have dedicated
16   significant time to investigating, pleading, and pursuing these claims, and have demonstrated expertise
17   in representing class members. Kramer Decl., ¶¶ 3-6. In addition, to ensure that the litigation is
18   prosecuted efficiently and without duplication of effort, Plaintiffs request that the Court designate
19   Girard Gibbs to continue coordinating work on behalf of the class. Kramer Decl., ¶ 2.
20   II.    CERTIFICATION OF AN INJUNCTIVE RELIEF CLASS IS WARRANTED.
21          HP’s use of dynamic security to disable competing ink cartridges makes “final injunctive
22   relief or corresponding declaratory relief . . . appropriate respecting the class as a whole.” Hart v.
23   Colvin, 310 F.R.D. 427, 438 (N.D. Cal. 2015) (quoting Fed. R. Civ. P. 23(b)(2)). The rule provides
24   for class certification if the defendant “has acted or refused to act on grounds that apply generally to
25   the class, so that final injunctive relief or corresponding declaratory relief is appropriate respecting
26   the class as a whole.” Fed. R. Civ. P. 23(b)(2).
27          Rule 23(b)(2) is accordingly satisfied where “class members complain of a pattern or practice
28   that is generally applicable to the class as a whole.” Rodriguez, 591 F.3d at 1125 (citation omitted).


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 1   “The rule does not require us to examine the viability or bases of class members’ claims for
 2   declaratory and injunctive relief, but only to look at whether class members seek uniform relief from
 3   a practice applicable to all of them.” Id. Unlike a Rule 23(b)(3) class action for money damages, an
 4   injunctive class merely requires a defendant’s common conduct:
 5               Although common issues must predominate for class certification under Rule
                 23(b)(3), no such requirement exists under 23(b)(2). It is sufficient if class
 6               members complain of a pattern or practice that is generally applicable to the class
                 as a whole. Even if some class members have not been injured by the challenged
 7               practice, a class may nevertheless be appropriate.
 8   Walters, 145 F.3d at 1047.
 9           HP’s dynamic security,
10                                                         Kramer Decl., Ex. 9 (HP-0000008974); Ex. B
11   (Novak Dep. at 89:9-11, 24:22-23). HP
12                       Kramer Decl., Ex. B (Novak Dep. at 24:9-23, 149:17); Ex. 5 (HP-0000011450-51)
13   (                                                                          ). HP
14
15                  Kramer Decl., Ex. 2 (HP-0000006665-77); Ex. 1 (HP-0000011429); see also Ex. 6 (HP-
16   0000009349)
17                                     ; Ex. B (Novak Dep. at 77:16) (
18                                                 ). HP
19                                                                . Kramer Decl., Ex. B (Novak Dep. at 24:9-
20   23, 149:17).
21   Kramer Decl., Ex. 16 (HP-0000003807); Ex. A (Barkley Dep. at 167:19-20).
22           The primary relief Plaintiffs seek is injunctive and “indivisible” in nature, Wal-Mart, 564 U.S.
23   at 360, for this relief either is or is not justified as to the entire Class. See Compl. ¶ 3 (“Plaintiffs seek
24   an injunction prohibiting HP from hijacking their printers again, and appropriate recovery for
25   themselves and the other owners of HP printers affected by the firmware update.”); Tr. of 7/14/17
26   Hr’g at 14:12-14 (“So our case is for injunctive relief as well as damages to protect the consumers and
27   make them whole.”). Plaintiffs define their Injunctive Relief Class by reference to the facts of record
28   and the California Unfair Competition Law that supports the injunction Plaintiffs will request. Compl.

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 1   ¶¶ 135-45 (First Claim for Relief). All members of this Class
 2
 3                Kramer Decl., Ex. B (Novak Dep. at 30-34); Ex. 9 (HP-0000008974) (
 4                                          ). Because that consequence is unfair to consumers, no lawful
 5   basis exists for this technology being on the printers. And because HP
 6
 7                                                                                   See, e.g., Kramer Decl.,
 8   Ex. F (San Miguel Dep., Rough Tr. at 90:10-12) (testifying that “not knowing if HP was going to
 9   implement another firmware and I’m back to square one, that’s always on the back of my mind.”).
10          This Court may enjoin HP’s common conduct that artificially limits consumer choice and has
11   “an adverse effect on competition.” FTC v. Texaco, Inc., 393 U.S. 223, 229 (1968). Established
12   principles of law require that the separate market—the aftermarket—for replacement ink cartridges be
13   kept open to competition. Courts will grant a UCL injunction where a defendant’s actions “adversely
14   affects the commercial viability of competitive” products in a secondary market. Sun Microsystems,
15   Inc. v. Microsoft Corp., 87 F. Supp. 2d 992, 1001 (N.D. Cal. 2000). A plaintiff seeking injunctive
16   relief to halt an anticompetitive practice “is not required to show that a practice it condemns has
17   totally eliminated competition in the relevant market,” but only “that the practice in question unfairly
18   burdened competition for a not insignificant volume of commerce.” Texaco, 393 U.S. at 230.
19          In Texaco, the Supreme Court reinstated an injunction against an oil company for compelling
20   its gas station dealers to use only Goodrich tires and batteries in the aftermarket, where Goodrich was
21   paying the oil company for the coercion. Id. at 225-27. The Court reasoned that the “nonsponsored
22   brands do not compete on the even terms of price and quality competition; they must overcome, in
23   addition, the influence of the dominant oil company.” Id. at 230.
24          In Sun Microsystems, this court applied Texaco to preliminarily enjoin Microsoft from
25   engaging in conduct directed at the secondary market for Java products and technology. Microsoft
26   was distributing “extensions to the java.* class libraries, which ensured that applications created with
27   Microsoft’s Java development tools were tied to its virtual machine and operating system.” 87 F.
28   Supp. 2d at 995. Plaintiff “demonstrated that Microsoft introduced strategic incompatibilities in its


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 1                                                                                               Kramer Decl.,
 2                 Ex. B (Novak Dep. at 56:21-57:4, 42:2-5, 61:23-62:1, 113:5-13) (
 3
 4
 5                            ). Not all reverse engineering is illegal. HP has not provided evidence
 6                 substantiating any claim of illegal reverse engineering.
 7             2) Moreover, patent law does not permit a patentee to enforce its rights against customers,
 8                 but instead favors enforcement against actual infringers. See Lucasey Mfg. Corp. v.
 9                 Anchor Pad Int’l, Inc., 698 F. Supp. 190, 193 (N.D. Cal. 1988) (“Public policy . . .
10                 favors litigation of patent rights against the alleged wrongful manufacturer and restraint
11                 of suits against customers for the same relief until the original suit is determined.”)
12                 (citation omitted). Consistent with this policy, firms may not assert those rights against
13                 end-purchasers of patented products. To prevent uncertainty and inconvenience, patent
14                 law “furnishes ‘no basis for restraining the use and enjoyment of the thing sold.’”
15                 Impression Prods., Inc. v. Lexmark Int’l, Inc., 137 S. Ct. 1523, 1532 (2017) (quoting
16                 United States v. Univis Lens Co., 316 U.S. 241, 251 (1942)). So the defense fails.
17          HP’s conduct is at odds with the law and
18                                Kramer Decl., Ex. 26 (HP 0000003430). But, faced with adversarial
19   testing, HP has not obtained injunctions against alleged infringers of its ink cartridge chips. Compl.
20   ¶¶ 92-93.2 In response to Plaintiffs’ contention interrogatories asking HP to substantiate its defense,
21   HP could only point to a 2009 International Trade Commission order without providing any evidence
22   that the cartridge products it disabled years later fell within that order’s scope. Kramer Decl., Ex. C
23
     2
24     In 2014, HP brought and voluntarily dismissed a suit against Ninestar and Apex for manufacturing
     ink cartridge chips that HP argued infringed three of its patents. Hewlett-Packard Co. v. Ninestar, No.
25   14-cv- 04473-HSG (N.D. Cal. filed Oct. 6, 2014) (voluntarily dismissed on May 6, 2015). HP also
     brought and voluntarily dismissed a lawsuit against Datel for allegedly misappropriating trade secrets
26   concerning ink cartridge key codes. Hewlett-Packard Co. v. Datel Holdings Ltd., No. 14-cv-02891-
     EJD (N.D. Cal. filed June 23, 2014) (voluntarily dismissed on Feb. 6, 2015). And HP lost a patent suit
27   in the Netherlands against a Dutch manufacturer of third-party ink cartridges that HP claimed
     infringed a European ink cartridge chip patent. Hewlett-Packard Co. v. Digital Revolution BV [d.b.a.
28   123inkt], Case No. C/09/483615 / HA ZA 15-245, The Hague (Netherlands) (decided Nov. 25, 2015).


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 1   (HP’s Responses to Pls.’ Third Set of Interrogs. at 6:12); see Ex. 27 (HP-0000002310-2393).
 2   Regardless of its merit, HP’s infringement defense applies to the Class uniformly.
 3           Finally, given the voluntary cessation doctrine, HP cannot avoid injunctive relief certification
 4   by asserting that it has removed the offending technology. “[I]t is well-settled law that ‘voluntary
 5   cessation of allegedly illegal conduct . . . does not make the case moot.’” Nat’l Fed’n of the Blind v.
 6   Target Corp., 582 F. Supp. 2d 1185, 1193 (N.D. Cal. 2007) (quoting DeFunis v. Odegaard, 416 U.S.
 7   312, 318 (1974)); see, e.g., Raffin v. Medicredit, Inc., 2017 WL 131745, at *10 (C.D. Cal. Jan. 3,
 8   2017) (“Medicredit argues that (b)(2) certification is improper because Raffin’s request for injunctive
 9   relief is moot. . . . [b]ut ‘[a] defendant’s voluntary cessation of allegedly unlawful conduct ordinarily
10   does not suffice to moot a case.’”) (citation omitted).
11           “Voluntary cessation does not moot a case or controversy unless subsequent events ma[ke] it
12   absolutely clear that the allegedly wrongful behavior could not reasonably be expected to recur.”
13   Parents Involved in Cmty. Sch. v. Seattle Sch. Dist. No. 1, 551 U.S. 701, 719 (2007) (emphasis added)
14   (citation omitted). Otherwise, “a dismissal for mootness would permit a resumption of the challenged
15   conduct as soon as the case is dismissed.” Knox v. Serv. Employees Int’l Union, Local 1000, 567
16   U.S. 298, 307 (2012); see, e.g., Reyes v. Educ. Credit Mgmt. Corp., 2017 WL 4169720, at *14 (S.D.
17   Cal. Sept. 20, 2017) (granting certification under Rule 23(b)(2) despite the defendant’s argument that
18   it made technical changes: “It is not implausible that the settings . . . that led to this lawsuit could be
19   again incorrectly programmed in future.”), pet. for interlocutory review granted, 2017 WL 6762227
20   (9th Cir. Dec. 21, 2017); see also NAACP v. Ameriquest Mortg. Co., 653 F. Supp. 2d 1013, 1015
21   (C.D. Cal. 2008) (finding that the defendant’s exit from the relevant market did not moot the action
22   because “there does not seem to be any external barrier to Defendant re-entering the market at any
23   time in the future—for example, if it becomes lucrative again a few years from now.”).
24
25                          Kramer Decl., Ex. A (Barkley Dep. at 192:21-193:16, 232:10-12); see also Ex.
26   23 (HP-0000000053) (
27
28             ); Ex. 9 (HP-0000008974) (


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 1
 2                                                       . Injunctive relief will protect consumers from
 3   having their printers disabled by HP, through dynamic security or a similar technology.
 4          For these reasons, the Court should certify the Injunctive Relief Class.
 5   III.   COMMON QUESTIONS PREDOMINATE WITH RESPECT TO HP’S LIABILITY
            FOR COMPUTER ABUSE AND TRESPASS TO CHATTELS.
 6
 7          A.      Bifurcation of Liability and Damages, as Provided for Under Subdivisions (b)(3)
                    and (c)(4), Is a Superior Method for Advancing Plaintiffs’ Damage Claims.
 8
            Rule 23(c)(4) allows the court to certify a class—here, the proposed Disablement Class—as to
 9
     “particular issues [w]hen appropriate.” Fed. R. Civ. P. 23(c)(4); see also Fed. R. Civ. P. 42(b). The
10
     Supreme Court endorsed this procedure in Tyson Foods, Inc. v. Bouaphakeo, 136 S. Ct. 1036 (2016),
11
     holding that “[w]hen one or more of the central issues in the action are common to the class and can be
12
     said to predominate, the action may be considered proper under Rule 23(b)(3) even though other
13
     important matters will have to be tried separately, such as damages or some affirmative defenses
14
     peculiar to some individual class members.” Id. at 1045 (quoting Wright & Miller, Federal Practice
15
     & Procedure § 1778 (3d ed. 2005)). Similarly, the Ninth Circuit has observed that “Rule 23
16
     specifically contemplates . . . individualized claim determinations after a finding of liability.” Briseno,
17
     844 F.3d at 1131; see Fed. R. Civ. P. 23(c)(4) advisory committee’s note (1966) (“[I]n a fraud or
18
     similar case the action may retain its ‘class’ character only through the adjudication of liability to the
19
     class; the members of the class may thereafter be required to come in individually and prove the
20
     amounts of their respective claims.”).
21
            In fact, a trial “limited to determining liability on a class-wide basis, with separate hearings to
22
     determine—if liability is established—the damages of individual class members . . . will often be the
23
     sensible way to proceed.” Butler v. Sears, Roebuck & Co., 727 F.3d 796, 800 (7th Cir. 2013). The
24
     Ninth Circuit favors issue certification where it would capably resolve the litigation:
25
                  Courts faced with a proposed issue class should consider “whether the adjudication
26                of the certified issues would significantly advance the resolution of the underlying
                  case, thereby achieving judicial economy and efficiency.” [Citation.] In at least
27                some circumstances, it is appropriate to certify a class to “accurately and
                  efficiently resolve the question of liability, while leaving the potentially difficult
28                issue of individualized damage assessments for a later day.” Jimenez v. Allstate
                  Ins. Co., 765 F.3d 1161, 1164 (9th Cir. 2014).
                                                         21
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 1   Kamakahi v. Am. Soc’y for Reprod. Med., 305 F.R.D. 164, 176 (N.D. Cal. 2015).
 2          As the Tyson Court recognized, 136 S. Ct. at 1045, after liability is decided, class members can
 3   come forward in individual proceedings with evidentiary items (such as receipts, photographs,
 4   credit card statements, or affidavits) that establish their harm. See, e.g., Briseno, 844 F.3d at 1132
 5   (“[W]e see no reason to refuse class certification simply because that same consumer will present her
 6   affidavit in a claims administration process after a liability determination has already been made.”);
 7   Fraser v. Wal-Mart Stores, Inc., 2016 WL 6208367, at *5 (E.D. Cal. Oct. 24, 2016) (class members
 8   could “prove their membership with reliable records such as credit card statements and receipts.”);
 9   Nieberding v. Barrette Outdoor Living, Inc., 302 F.R.D. 600, 607 (D. Kan. 2014) (class members
10   could support claims with photographs).
11          Rule 23(c)(4)’s analysis also parallels Rule 23(b)(3)’s superiority analysis: “A class action is
12   superior ‘[w]here classwide litigation of common issues will reduce litigation costs and promote
13   greater efficiency.’” Alfred v. Pepperidge Farm, Inc., 2017 WL 5665590, at *28 (C.D. Cal. Apr. 11,
14   2017) (citation omitted); see, e.g., In re Activision Sec. Litig., 621 F. Supp. 415, 438 (N.D. Cal. 1985)
15   (prioritizing “judicial economy” in certifying an issue class); Lilly, 308 F.R.D. at 244 (“Since Plaintiff
16   has established that, with the exception of determining damages, all of the required elements of class
17   certification have been met, the Court will exercise its discretion pursuant to Rule 23(c)(4) . . . to
18   certify the proposed class solely for purposes of determining liability.”).3 Here too, issue class
19   certification will significantly advance the litigation while promoting judicial economy.
20          Plaintiffs and class members lost time and money because HP interfered with their printers.
21   The amount of individual damages—aftermarket cartridge, printer, or printing service costs, or other
22   losses—varies and is too low to justify individual lawsuits. “Cases, such as this, ‘where litigation
23   costs dwarf potential recovery’ are paradigmatic examples of those well-suited for classwide
24
     3
25     See also Nieberding, 302 F.R.D. at 618 (in a product defect case, “[t]he Court f[ound] that the issue
     of liability is appropriate for Rule 23(b)(3) certification, but bifurcate[d] plaintiff’s motion to reserve
26   the damages issue for determination at a later date, if plaintiff prevails on the liability question.”);
     Smith v. Triad of Alabama, LLC, 2017 WL 1044692, at *15-16 (M.D. Ala. Mar. 17, 2017) (in a patient
27   data breach case, the court ruled that an initial classwide trial would focus on common questions of
     duty and breach), modified in part on reconsideration, 2017 WL 3816722 (M.D. Ala. Aug. 31, 2017).
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                                                         22
               PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION, CASE NO. 5:16-CV-05820-EJD-SVK
 1   prosecution.” Mullins v. Premier Nutrition Corp., 2016 WL 1535057, at *8 (N.D. Cal. Apr. 15, 2016)
 2   (quoting Hanlon, 150 F.3d at 1023).
 3         B.      Common Questions Predominate with Respect to the Liability Elements of
                   Plaintiffs’ Claims.
 4
 5          HP’s use of technology to disable working printers represents a uniform course of conduct that

 6   either does, or doesn’t, violate the CFAA and the common law prohibition of trespass to chattels.

 7   Compl. ¶¶ 218-34, 244-48.4
                   1.      Whether HP’s Conduct Violated the Computer Fraud and Abuse Act
 8
                           Turns on Common Issues and Evidence.
 9
            The CFAA creates a private right of action against an entity that intentionally or knowingly
10
     accessed a computer without authorization or exceeded its authorized access, causing over $5,000 in
11
     damage. 18 U.S.C. §§ 1030(a), (g). CFAA claims typically involve common questions suitable for
12
     class treatment. See, e.g., Harris v. comScore, Inc., 292 F.R.D. 579, 581, 585 (N.D. Ill. 2013)
13
     (certifying CFAA claim, noting in part that the invasive software “operate[d] in a substantively
14
     identical fashion on all computers” and was presented to consumers in a “materially identical” way);
15
     Miles v. America Online Inc., 202 F.R.D. 297, 299 (M.D. Fla. 2001) (certifying CFAA claim based
16
     on AOL “configuring the computers to dial long-distance numbers to access [its] services” and
17
     forcing downloads “without authorization”).
18
            HP’s evidence—not class members’—demonstrates that HP “knowingly cause[d] the
19
     transmission of a program, information, code, or command,” and that as a result HP “intentionally
20
     cause[d] damage without authorization” by the consumers. 18 U.S.C. § 1030(a)(5)(A). The CFAA’s
21
     elements center on defendants’ behavior, not plaintiffs’. HP’s documents tell a story of
22
                                                                                 They describe
23
24
25
26   4
       “It is routine for plaintiffs to move for class certification on fewer than all claims asserted.” Gaudet
27   v. Am. Home Shield Corp., 2013 WL 12238499, at *1 (E.D. La. Sept. 10, 2013). To ensure an
     efficient trial, Plaintiffs do not seek classwide relief under the UCL’s fraudulent prong, the FAL, the
28   CLRA, the other state statutes invoked in their complaint, or the common law of tortious interference.


                                                        23
                PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION, CASE NO. 5:16-CV-05820-EJD-SVK
 1                                                                          . Kramer Decl., Ex. 17 (HP-
 2   0000003795-96) (
 3                                       ); see also Ex. 2 (HP-0000006665-77) (                                );
 4   Ex. 21 (HP-0000006523-25)
 5                      Ex. 10 (                                Ex. 16 (HP-0000003807).
 6          Class members can show their entitlement to “compensatory damages,” 18 U.S.C. § 1030(g),
 7   subject to HP’s defenses, in post-class trial proceedings. See Briseno, 844 F.3d at 1131-32. But there
 8   is no evidence that HP obtained authorization from any class members to alter their printer
 9   functionality by implanting dynamic security. See, e.g., United States v. Nosal, 844 F.3d 1024, 1034
10   (9th Cir. 2016) (noting that “the plain language of the CFAA ‘target[s] the unauthorized . . . alteration
11   of information’”), cert. denied, 138 S. Ct. 314 (2017).
12
13                                  . E.g., Kramer Decl., Ex. 16 (HP-0000003807)
14              ); Ex. 9 (HP-0000008974) (
15                                                                                                    ; Ex. B
16   (Novak Dep. at 27:21-28:9) (
17                                  ). Considering HP’s failure to disclose the technology or its effects to
18   consumers, HP cannot avoid CFAA liability by claiming that some of them consented to its intrusion.
19
                   2.       Whether HP’s Conduct Constituted Trespass to Chattels Turns on
20                          Common Issues and Evidence.
21          Where plaintiffs seek relief on behalf of class members from different states, the court may
22   certify a class or subclass comprising members with materially identical claims. Phillips Petroleum
23   Co. v. Shutts, 472 U.S. 797, 806-16 (1985) (holding that due process permits a single court to bind a
24   nationwide class, and stating that “[t]here can be no injury in applying Kansas law if it is not in
25   conflict with that of any other jurisdiction connected to this suit.”); Klay v. Humana, Inc., 382 F.3d
26   1241, 1262 (11th Cir. 2004) (concluding that “if the applicable state laws can be sorted into a small
27   number of groups, each containing materially identical legal standards, then certification of

28   subclasses embracing each of the dominant legal standards can be appropriate.”), abrogated in part
     on other grounds by Bridge v. Phoenix Bond & Indem. Co., 553 U.S. 639 (2008). For example, in
                                                    24
               PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION, CASE NO. 5:16-CV-05820-EJD-SVK
 1   Ellsworth v. U.S. Bank, N.A., the court certified a multistate class where “Plaintiffs propose[d] a
 2   realistic plan to group the breach of contract classes into two subclasses to address differences in state
 3   law.” 2014 WL 2734953, at *20-25 (N.D. Cal. June 13, 2014); see also, e.g., In re Checking Account

 4   Overdraft Litig., 307 F.R.D. 656, 680-83 (S.D. Fla. 2015) (applying American Law Institute,

 5   Principles of the Law of Aggregate Litigation § 2.05(b) (2010)).

 6          Only one group exists for Plaintiffs’ trespass to chattels claim. It includes class members in

 7   the 44 jurisdictions that recognize the Restatement of Torts’ articulation of this claim. Forty-two

 8   jurisdictions—including each of the states in which Plaintiffs reside—base their trespass to chattels

 9   law on the same Restatement sections. See Restatement (Second) of Torts §§ 217-18 (1965). These

10   states instruct that a trespass to chattel occurs by intentionally dispossessing another of a chattel or
     using or intermeddling with a chattel in the possession of another. See Appendix A hereto (44-
11
     Jurisdiction Survey of Trespass to Chattels Law). The two remaining states have not cited the
12
     Restatement but recognize the identical prohibition. See Appendix A.
13
            Under the laws of 44 jurisdictions, therefore, a fact finder could find HP liable for interfering
14
     with consumers’ personal property.5 Cf. In re Abbott Labs. Norvir Anti-trust Litig., 2007 WL
15
     1689899, at *9 (N.D. Cal. June 11, 2007) (certifying 48-state class of end-purchasers: “[V]ariations
16
     among some States’ unjust enrichment laws do not significantly alter the central issue or the manner
17
     of proof”). The same common, HP-derived evidence that pertains to the CFAA’s elements shows that
18
     HP committed a trespass to chattels by depriving consumers of the use of their printers.
19
                                                CONCLUSION
20
             For the foregoing reasons, Plaintiffs respectfully request that the Court certify the classes
21
     defined above, appoint Faust and Andrews to represent the Injunctive Relief Class, appoint Faust,
22
     Andrews, San Miguel, Lawty, and Ware to represent the Disablement Class, appoint Girard Gibbs
23
     LLP, Law Offices of Todd M. Friedman, P.C., and Joseph Saveri Law Firm, Inc. to serve as class
24
     counsel under Rule 23(g), designate Girard Gibbs LLP to coordinate the work of Plaintiffs’ counsel,
25
     and direct the parties to submit a proposed plan of Notice under Rule 23(c)(2).
26
27   5
       The requested 44-jurisdiction common law certification will not prejudice class members in the
28   remaining states because they can recover their damages under the CFAA.


                                                         25
               PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION, CASE NO. 5:16-CV-05820-EJD-SVK
 1   Dated: February 7, 2018                       Respectfully submitted,
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10                                                 Todd M. Friedman (SBN 216752)
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27                                                 Facsimile: (216) 241-8175
                                                   dkaron@karonllc.com
28


                                                 26
              PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION, CASE NO. 5:16-CV-05820-EJD-SVK
 1                                                        Taylor Bartlett (pro hac vice)
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 3                                                        Birmingham, Alabama 35203
                                                          Telephone: (205) 326-3336
 4                                                        Facsimile: (205) 380-8085
                                                          taylor@hgdlawfirm.com
 5
 6                                                        Counsel for Plaintiffs

 7
                                                ATTESTATION
 8
            I, Elizabeth A. Kramer, am the ECF user whose identification and password are being used to
 9
     file this motion. I hereby attest under penalty of perjury that concurrence in this filing has been
10
     obtained from all counsel listed above.
11
12
     DATED: February 7, 2018                              /s/ Elizabeth A. Kramer
13                                                            Elizabeth A. Kramer

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               PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION, CASE NO. 5:16-CV-05820-EJD-SVK
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            PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION, CASE NO. 5:16-CV-05820-EJD-SVK
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 5                                Ǥǯǳ Sotelo v. DirectRevenue, LLCǡ ͵ͺͶ Ǥ
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 6                         Țʹͳ͹ȌȌǤǲ ǡ
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 7                         ǤǳId.ȋȋ ȌȚʹͳͺȋȌȌǤ
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11                                          
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                           Terrell v. Rowseyǡ ͸Ͷ͹ ǤǤʹ ͸͸ʹǡ ͸͸͸ ȋ Ǥ Ǥ Ǥ ͳͻͻͷȌ ȋ
13                         ȋ ȌȚʹͳͺȋͳͻ͸ͷȌȌǤ
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14                                  ǡ      ǡ
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15                            ȏ  Ȑ       
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16                         Ǥ Ǥ ʹͲͲͶȌ ȋ  Ȍ ȋ  ȋ Ȍ 
17                         Țʹ͸Ͳȋͳͻ͸ͷȌȌǤ
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19                          ȏǤȐǳTaylorv.Mo.Cent.TypeFoundryCo.ǡͷ͵Ǥʹ
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20                         ȋȌǤ
21   ʹͲ           KY     ǲǮȏȐ          ȋȌ
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22                               Ǥǯǳ Ingram Trucking, Inc. v. Allenǡ ͵͹ʹ
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23                         Țʹͳ͹ȋͳͻ͸ͷȌȌǤ
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25                         ǤǯǳPearlInvs.LLCv.StandardI/O,Inc.ǡʹͷ͹ ǤǤʹ
                           ͵ʹ͸ǡ͵ͷͶȋǤǤʹͲͲ͵ȌȋAmericaOnline,Inc.v.IMSǡʹͶ ǤǤʹ
26                         ͷͶͺǡ ͷͷͲ ȋǤǤ Ǥ ͳͻͻͺȌȋ ȋ Ȍ   Ț ʹͳ͹ȋȌ
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27                            ǡǡǤǯǳ
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28   ʹʹ           MD     ǲ ǡ Ǯ
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            PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION, CASE NO. 5:16-CV-05820-EJD-SVK
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 2                         ʹͷʹʹǡʹͲͳ͹ǤǤǤ ͵ʹ͹ͺͲǡȗ͵ʹȋǤǤǤͺǡʹͲͳ͹Ȍȋ
                           ȌȋUnitedStatesv.Aroraǡͺ͸Ͳ ǤǤͳͲͻͳǡͳͲͻ͹ȋǤǤ
 3                         ͳͻͻͶȌ ȋȋ Ȍ   ȚȚ ʹͳ͹ȋȌǡʹͳͺȋȌ ȋͳͻ͸ͷȌȌǡ
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 6                           ǤǳMancusov.General
                           Motors Acceptance Corp.ǡ ͳͻͻ͵ Ǥ Ǥ Ǥ ͳ͵͸ǡ ͳ͵͹ ȋǤ Ǥ Ǥ
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 8                                Ǯ          
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10                                 ǡ  ȋȌ       ǡ 
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12                         Smithv.WrightǡʹͲͳ͵ǤǤǤʹͶǡȗͳͺǦͳͻȋǤǤǤǤͲ͸ǡ
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13   ʹͶ           MI     ǲ          
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14                         Mackie & Freetown Mini Mart v. Bollore S.AǤǡ Ǥ Ǥ ʹͺ͸Ͷ͸ͳǡ ʹͲͳͲ  Ǥ
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                           ȋ ȌȚȚʹͳ͹Ǧͳͻȋͳͻ͸ͷȌȌǤ
16   ʹͷ           MN     ǲǮ          ȋȌ
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17                          ǤǯǳOlsonv.LaBrieǡǤͳʹǦͳ͵ͺͺǡʹͲͳ͵
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18                         ȋ ȋ Ȍ   Ț ʹͳ͹ȋͳͻ͸ͷȌȌǤ ǲ
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22                          ǯǤǳId.ȋǡ
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23   ʹ͸           MO     ǲ ʹǡȚʹͳ͹ǡǮȏȐ
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24                             ǡǯ     Ǯ  
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25                           ǡ
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26                         ͷͲ͹ǡͷͳʹȋǤͳͻ͹ͲȌȋ ȌǤ
27   ʹ͹           NE     ǲ  ȋ Ȍ        
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28                                             
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            PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION, CASE NO. 5:16-CV-05820-EJD-SVK
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 5                         ACIWorldwideCorp.v.MastercardTechs.,LLCǡǤͺǣͳͶ͵ͳǡʹͲͳͶǤǤǤ
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 6                         ȋ ȌȚʹͳͺȋͳͻ͸ͷȌȌǤ
 7   ʹͺ           NV     ǲǮ  
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 8                         ǤǤ Ǥ   ͳ͵͸͵Ͳ͸ǡ  ȗͳ͵ ȋǤ Ǥ Ǥ ͳͻǡ ʹͲͳͷȌ ȋ
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 9                                    ǡ 
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10                         ȋ ȌȚʹʹʹȌȋͳͻ͸ͷȌȌǤ
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13                         ǡǡȋȌ  ǡ
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14                          ǡ  ȋ Ȍ         
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15                           Ǥǯǳ Glidden v. Szybiakǡ ͸͵ Ǥʹ ʹ͵͵ǡ ʹ͵ͷ ȋͳͻͶͻȌ ȋ
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16   ͵Ͳ           NM     ǲ  
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17                                  
                            ǤǳTex.ǦNewMex.PipelineCo.v.AllstateConstr.ǡ͵͸ͻǤʹͶͲͳǡͶͲʹȋǤǤ
18
                           ͳͻ͸ʹȌ ȋǡ inter aliaǡ  ȋ Ȍ   Ț ʹͳͺ Ǥ 
19                         ȋͳͻ͸ͷȌȌǤ
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20                            ȋ Ȍ  Ǥǳ Register.com, Inc. v. Verio,
                           Inc.ǡ͵ͷ͸ Ǥ͵͵ͻ͵ǡͶ͵͹ȋʹǤʹͲͲͶȌǤǲǮ  
21                                  
                           ǤǯǳId.ȋCityofAmsterdamv.Goldreyer,Ltd.ǡͺͺʹ
22                           Ǥ Ǥ ͳʹ͹͵ǡ ͳʹͺͳ ȋǤǤǤǤ ͳͻͻͷȌȋ  ȋ Ȍ  
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23                            ǯ  Ǯ      
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24
                           ȋͳͻ͸ͷȌȌǤ
25   ͵ʹ           NC     ǲ    ǡ     
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26                         ǤǳMcDowellv.Davisǡ͵͵ǤǤǤͷʹͻǡͷ͵ͷǡ
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27                         Obstetrics & Gynecology Assocs., P.A.ǡ ͵ͻͷ ǤǤʹ ͺͷǡ ͻͷ ȋǤǤ ͳͻͻͲȌ ȋ 
                           ȋ ȌȚʹͳ͹ȋͳͻ͸ͷȌȌǤ
28
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                                                      33
            PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION, CASE NO. 5:16-CV-05820-EJD-SVK
 1                             ǡ      ǡ   Ǥǳ
                           Sagebrush Res., LLC v. Petersonǡ ͺͶͳ ǤǤʹ ͹Ͳͷǡ ͹ͳʹ ȋǤǤ ʹͲͳͶȌ ȋ ǡ
 2                         interaliaǡȋ ȌȚʹͳͺȋͳͻ͸ͷȌȌǤ
 3   ͵Ͷ           OH     See generally CompuServe, Inc. v. Cyber Promotionsǡ ͻ͸ʹ Ǥ Ǥ ͳͲͳͷǡ
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 4                         
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 5                            Ǥǯǳ Mercer v. Halmbacherǡ ͶͶ ǤǤ͵ ͳͲͳͳǡ ͳͲͳ͹
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 6                            ǣ
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 7
                                  ȋȌ Ǥǳ
 8                         Id. ȋ  ȋ Ȍ   Ț ʹͳ͹ȋͳͻ͸ͷȌȌǤ ǲ ǡ 
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 9                          ǡǣ
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10                                ȋȌ  ǡǡǡ
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13                                Ǥǳ
                           Id.ȋȋ ȌȚʹͳͺȋͳͻ͸ͷȌȌǤ
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     ͵ͷ           OK     ǲǡʹǡ ǣǥǮ 
15                          ȋȌ ǡ
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16                         Woodis v. Okla. Gas & Elec. Co.ǡ ͹ͲͶ Ǥʹ Ͷͺ͵ǡ Ͷͺͷ ȋǤ ͳͻͺͷȌ ȋ
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17   ͵͸           OR     ǲ     ǡ       
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19                                 ǥǤ Ǯ   
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                           Carstensǡ ͹͵Ͳ Ǥʹ ͸ͲͶǡ ͸Ͳ͸ǦͲ͹ ȋǤ Ǥ Ǥ ͳͻͺ͸Ȍ ȋ ǡ inter aliaǡ
21                         ȋ ȌȚȚͳͷͺȋȌǡʹͳ͹ȋȌȋͳͻ͸ͷȌȌǤ
     ͵͹           PA     SeeDickersonv.DeSimone,Inc.ǡǤͳͷͺͳʹͲͳͷǡʹͲͳ͸ǤǤǤ
22                           ͵ʹ͵ͺǡ  ȗ͹ Ǥʹ ȋǤ Ǥ Ǥ ʹͲͳ͸Ȍ ȋ ǡ inter aliaǡ 
                           ȋ ȌȚȚʹͳ͹ǡʹͳͺȋͳͻ͸ͷȌȌǤ
23
     ͵ͺ           TN     ǲǮ           
24                                 
                           ǤǯǳGarnerv.CoffeeCty.BankǡǤʹͲͳͶǦͲͳͻͷ͸ǦǦ
25                         ͵ǦǡʹͲͳͷǤǤ ͺ͹͵ǡȗͳ͹ǦͳͺȋǤǤǤ Ǥʹ͵ǡʹͲͳͷȌ
                           ȋ Am. Online, Inc. v. IMSǡ ʹͶ Ǥ Ǥ ʹ ͷͶͺǡ ͷͷͲ ȋǤǤ Ǥ ͳͻͻͺȌ
26                         ȋ ȋ ȌȚʹͳ͹ȋȌȋͳͻ͸ͷȌȌǤ
27   ͵ͻ           VA     ǲ        ǤǳSecureInfo Corp. v.
                           TelosCorpǤǡ͵ͺ͹ ǤǤʹͷͻ͵ǡ͸ʹͳȋǤǤǤʹͲͲͷȌȋ AmericaOnline,
28                         Inc. v. IMSǡʹͶ Ǥ Ǥ ʹ ͷͶͺǡ ͷͷͲȋǤǤ Ǥ ͳͻͻͺȌ ȋ  Vines v.
                           BranchǡͶͳͺǤǤʹͺͻͲǡͺͻͶȋǤͳͻͻʹȌȌȌǤǲ  
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                                                      34
            PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION, CASE NO. 5:16-CV-05820-EJD-SVK
 1                                            CERTIFICATE OF SERVICE
 2             I hereby certify that on February 7, 2018, I electronically filed the foregoing document using
 3       the CM/ECF system, which will send notification of such filing to all counsel of record registered in
 4       the CM/ECF system. I also caused a copy of the foregoing document to be served via email on
 5       counsel of record for all parties.
 6
                                                            /s/ Elizabeth A. Kramer
 7                                                              Elizabeth A. Kramer
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                   PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION, CASE NO. 5:16-CV-05820-EJD-SVK
